Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 1 of 26 Page ID #:94



 1   CENTER FOR DISABILITY ACCESS
     Raymond G. Ballister, Jr. SBN 111282
 2   Phyl Grace, Esq., SBN 171771
     Mail: PO Box 262490
 3   San Diego, CA 92196-2490
     Delivery: 9845 Erma Road, Suite 300
 4   San Diego, CA 92131
     (858) 375-7385; (888) 422-5191 fax
 5
     phylg@potterhandy.com
     Attorneys for Plaintiff KATRINA MENELL
 6
     WALSH & ASSOCIATES, APC
 7   16633 Ventura Boulevard, Suite 800
     Encino, California 91436
 8   Telephone: (818) 986-1776
     Facsimile: (818) 382-2071
 9   dwalsh@walshlawyers.com
10   Attorneys for Defendant, RIALTO UNIFIED
     SCHOOL DISTRICT
11
12                                   UNITED STATES DISTRICT COURT
13                                 CENTRAL DISTRICT OF CALIFORNIA
14
15   KATRINA MENELL,                                ) CASE NO. 5:15-CV-02124-VAP-KK
16                                                  )
                         Plaintiffs,                ) JOINT STIPULATION RE PLAIN-
17                                                  ) TIFF’S MOTION TO COMPEL:
                                                    )     1. SUPPLEMENTAL RE-
18           vs.                                    )         SPONSES TO REQUESTS
                                                    )         FOR ADMISSIONS;
19   RIALTO UNIFIED SCHOOL DIS-                     )     2. SUPPLEMENTAL RE-
     TRICT; and DOES 1 through 10, inclu-           )         SPONSES TO REQUESTS
20   sive                                           )         FOR THE PRODUCTION OF
                                                    )         DOCUMENTS
21                       Defendants.                )     3. SUPPLEMENTAL RE-
                                                    )         SPONSES TO INTERROGA-
22                                                  )         TORIES.
                                                    )     4. VERIFICATION FOR IN-
23                                                  )         TERROGATORIES.
                                                    )
24                                                  ) Date: 6/30/16
                                                    ) Time: 10:00 a.m.
25                                                  )
                                                    ) Honorable Kenly Kiya Kato
26                                                  )
                                                    ) Discovery cut-off: 7/5/2016
27                                                  ) Pre-trial conference: 10/17/16
                                                      Trial: 10/25/16
28

                                              -i-
     Motion to Compel Discovery Responses                            Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 2 of 26 Page ID #:95



 1   TO DEFENDANT RIALTO UNIFIED SCHOOL DISTRICT AND THEIR COUN-
 2   SEL OF RECORD:
 3           PLEASE TAKE NOTICE THAT at 10:00 a.m. on June 30, 2016, in Courtroom
 4   ‘3/4’ of the above-entitled Court located at 3470 Twelfth Street, Riverside, California,
 5   Plaintiff will and hereby does move this court for an Order: Compelling defendant Rialto
 6   Unified School District (hereinafter “Defendant”) to produce supplemental responses to
 7   request for admissions, requests for production of documents, interrogatories and veri-
 8   fication. Said motion will be made on the ground that the discovery propounded is rele-
 9   vant to the subject matter of this action, and does not relate to privileged matters, and
10   that the Defendant’s refusal to answer is without substantial justification.
11           This motion is made via a joint stipulation, attached hereto, in accordance with
12   Local Rule 37.
13
14
15   Dated: June 2, 2016                                         CENTER FOR DISABILITY AC-
     CESS
16
17
18                                                        By: /s/ Isabel Rose Masanque
19                                                        ISABEL ROSE MASANQUE
20                                                        Attorney for Plaintif
21
22
23
24
25
26
27
28

                                            -ii-
     Motion to Compel Discovery Responses                              Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 3 of 26 Page ID #:96



 1
 2                                     I. RELEVANT FACTS
 3         Plaintiff is a California resident with physical disabilities. Plaintiff is unable to
 4   walk or stand independently as the result of a degenerative condition called chronic bi-
 5   lateral split piriformis syndrome with bilateral sciatica, and uses a wheelchair for mobili-
 6   ty. (Complaint ¶ 4.) At all times relevant herein, the District owned, controlled, main-
 7   tained and/or exercised dominion over the High School and its related facilities, located
 8   at 595 South Eucalyptus Avenue in the City of Rialto, County of San Bernardino, Cali-
 9   fornia. (Complaint ¶ 11.) Plaintiff has visited and does visit the High School frequently,
10   to pick up her children and meet with administrators and teachers. (Complaint ¶ 15.)
11   Plaintiff has personally encountered architectural barriers to the High School’s facilities
12   on dates including but not limited to August 11, 2015. (Complaint ¶ 16.)
13         The built up curb ramps that extend into the access aisles of the designated acces-
14   sible parking spaces at the High School have made, and continue to make it difficult for
15   Plaintiff to exit/enter her vehicle, and cause her physical discomfort and fear. (Com-
16   plaint ¶ 17.) The lack of an accessible service/transaction counter in the administrative
17   office of the High School has made, and continues to make it difficult and embarrassing

18   for Plaintiff to conduct school business and communicate with school personnel. (Com-

19
     plaint ¶ 18.) The nature of Defendant’s discrimination constitutes an ongoing violation,
     and unless enjoined by this Court, will result in ongoing and irreparable injury to Plaint
20
     (Complaint ¶ 24.) Thus, Plaintiff filed the instant lawsuit.
21
           On February 5, 2016 Plaintiff propounded a set of written discovery, including
22
     Requests for Admission, Requests for the Production of Documents and Interrogatories,
23
     which were due March 9, 2016. (Declaration of Isabel Masanque, “Masanque Dec.” ¶ 2)
24
     On March 9, 2016, Defendant requested a three-week extension, which the plaintiff
25
     granted, making the responses due March 30, 2016. (Declaration of Sara Gunderson,
26
     herein after “Gunderson Dec.”, ¶ 2; Exhibit 1.) On March 28, 2016, Defendant again
27
                                                 -1-
28
     Motion to Compel Discovery                            Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 4 of 26 Page ID #:97



 1   requested another two-week extension. However, due to upcoming mediation the plain-
 2   tiff was only able to grant a one week extension, making responses due on April 6, 2016.
 3   (Gunderson Dec., ¶ 4; Exhibit 2.).
 4         Despite being given three-weeks’ worth of extensions, Defendant served unveri-
 5   fied responses, several of which consisted on only objections. (Masanque Dec. ¶ 3.)
 6         1. Attempts to Meet and Confer
 7         As required by local rules, Plaintiff has made efforts to meet and confer with De-
 8   fendant. Plaintiff sent a meet and confer letter to Defendant on May 25, 2016, setting
 9   forth why Defendant’s responses to Plaintiff’s written discovery were defective.
10   (Masanque Dec. ¶ 4; Exhibit 3.) Plaintiff outlined the legal authority, explaining why the
11   requested information is necessary and should be provided. (See Exhibit 4.) On June 1,
12   2016, the parties met and conferred via telephone (Masanque Dec. ¶ 6.). Defense coun-
13   sel indicated that Defendant will consider providing supplemental responses to certain
14   requests and interrogatories, but would need additional time to re-evaluate its position.
15   (Masanque Dec. ¶ 7.) However, because the discovery cut-off in this case is on July 5,
16   2016, the plaintiff has no choice but to file the instant motion to preserve her right to
17   compel supplemental responses, but will withdraw the instant motion should Defendant
18   provide satisfactory supplemental responses.
19
20                 II. REQUESTS AND INTERROGATORIES IN DISPUTE
21   A. Requests for Admissions
22   REQUEST FOR ADMISSION NO. 3:
23   Admit that YOU own, control, maintain and/or exercised dominion over the HIGH
24   SCHOOL.
25   RESPONSE TO REQUEST FOR ADMISSION NO. 3:
26
27
                                                  -2-
28
     Motion to Compel Discovery                             Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 5 of 26 Page ID #:98



 1   Objection. The request is compound as phrased and fails to separately set forth each
 2   matter for which an admission is requested and thus fails to comply with FRCP 36 (a) in
 3   that it requests multiple admissions. The request is also vague, ambiguous and unintelli-
 4   gible as phrased.
 5   Plaintiff’s Argument:

 6         As to Defendant’s vague and ambiguous objection, there is no ground for an ob-

 7   jection based on ambiguity unless the request is so ambiguous that the responding party

 8   is unable to provide, in good faith, an intelligent reply. See Marchand v. Mercy Med. Ctr.

 9   (9th Cir. 1994) 22 F.3d 933, 938. Such is surely not the case here, as each term used

10   was given a proper definition.

11         As to the objection that the request is compound, the rule against subpart and

12   compound questions only applies where more than a single subject is covered by a ques-

13   tion. See Rutter Group, Civil Litigation Before Trial. Questions regarding the same sub-

14   ject should be answered, even though they include an "and" or an "or". See Id. This re-

15   quest asks only one question about one topic—namely, the nature of Defendant’s inter-

16   est in Rialto High School.

17   Defendant’s Argument in Response:

18   Defendant intends to provide a supplemental response no later than June 24, 2016.

19
20   REQUEST FOR ADMISSION NO. 4:

21   Admit that the HIGH SCHOOL is a program, service or activity YOU offer to the public.

22   RESPONSE TO REQUEST FOR ADMISSION NO. 4:

23   Objection. The request is compound as phrased and fails to separately set forth each

24   matter for which an admission is requested and thus fails to comply with FRCP 36 (a) in

25
     that it requests multiple admissions. The request is also vague, ambiguous and unintelli-
     gible as phrased.
26
     Plaintiff’s Argument:
27
                                                -3-
28
     Motion to Compel Discovery                           Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 6 of 26 Page ID #:99



 1   Please see Request for Admission No.3. Moreover, “program, service and activity” is a
 2   single legal phrase and not separate terms. Specifically, Title II of the ADA requires public
 3   entities to “operate each service, program, or activity so that the service, program, or activity,
 4   when viewed in its entirety, is readily accessible to and usable by individuals with disabilities.
 5   28 C.F.R. § 35.150(a). That is, public entities are required to provide “program access” to the
 6   programs, services and activities which it operates. The Ninth Circuit interprets “program,
 7   service or activity” broadly, essentially encompassing everything that a public entity does. See
 8   Barden v. City of Sacramento, 292 F.3d 1073, 1076 (9th Cir. 2002). Therefore, a request for
 9   admission regarding the Defendant’s program, service, and activity at Rialto High School es-
10   sentially only relate to one topic.
11   Defendant’s Argument in Response:
12   Defendant intends to provide a supplemental response no later than June 24, 2016.
13   REQUEST FOR ADMISSION NO. 7:
14   Admit that the HIGH SCHOOL’s parking facilities were CONSTRUCTED and/or AL-
15   TERED after January 26, 1992.
16   RESPONSE TO REQUEST FOR ADMISSION NO. 7:
17   Objection. The request is compound as phrased and fails to separately set forth each
18   matter for which an admission is requested and thus fails to comply with FRCP 36 (a) in
19   that it requests multiple admissions. The request is also vague, ambiguous and unintelli-
20   gible as phrased as to the term “parking facilities.”
21   Plaintiff’s Argument:

22          Please see Request for Admission No.3. Here, it is unclear why the term “parking fa-

23   cilities” is unintelligible.

24          Moreover, The date of construction of a facility is relevant in any Unruh Civil

25   Rights Act/Americans with Disabilities Act case alleging architectural barriers, such as

26   the present case, even in cases involving public entities under Title II. 28 C.F.R.

27
                                                    -4-
28
     Motion to Compel Discovery                               Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 7 of 26 Page ID #:100



 1   35.151(a)(1) states that “Each facility or part of a facility constructed by, on behalf of, or
 2   for the use of a public entity shall be designed and constructed in such manner that the
 3   facility or part of the facility is readily accessible to and usable by individuals with disa-
 4   bilities, if the construction was commenced after January 26, 1992.” Thus, the date of
 5   construction is necessary to determine if the Defendant was required to comply with this
 6   obligation on the date that the HIGH SCHOOL was constructed or altered.
 7   Defendant’s Argument in Response:
 8   Defendant intends to provide a supplemental response no later than June 24, 2016.
 9   REQUEST FOR ADMISSION NO. 8:
10   Admit that the HIGH SCHOOL’s administrative office was CONSTRUCTED and/or
11   ALTERED after January 26, 1993
12   RESPONSE TO REQUEST FOR ADMISSION NO. 8:
13   Objection. The request is compound as phrased and fails to separately set forth each
14   matter for which an admission is requested and thus fails to comply with FRCP 36 (a) in
15   that it requests multiple admissions. The request is also vague, ambiguous and unintelli-
16   gible as phrased as to the term “administrative office.”
17   Plaintiff’s Argument:

18          Please see Request for Admission No.7. Here, it is unclear why the term “adminis-

19   trative office” is unintelligible.

20   Defendant’s Argument in Response:

21   Defendant intends to provide a supplemental response no later than June 24, 2016..

22
23   REQUEST FOR ADMISSION NO. 9:

24   Admit that on August 11, 2015, there was a built up curb ramp that extended into the

25   access aisle of the designated accessible parking spaces adjacent to and bordering the

26   pedestrian walkways serving the HIGH SCHOOL

27
                                                  -5-
28
     Motion to Compel Discovery                             Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 8 of 26 Page ID #:101



 1   RESPONSE TO REQUEST FOR ADMISSION NO. 9
 2   Objection. This request is vague, ambiguous, over-broad and unintelligible as phrased
 3   as to the term "built up curb ramp.” Subject to and without waving said objection, de-
 4   fendant is currently unable to admit or deny this admission as it is in the process of
 5   checking with its facilities director to determine whether the item requested was in ex-
 6   istence on the date in question.

 7   Plaintiff’s Argument:

 8         Defendant refused to provide any response whatsoever. Instead they essentially

 9   claim the defendants lack sufficient information to admit or deny. However, Defendant

10   still must also state that a reasonable inquiry was made to obtain sufficient information,

11   and that the information known or readily obtainable is insufficient to enable that party

12   to admit the matter. Fed. R. Civ. P. section 36(a)(4); Asea Inc. v. Southern Pac. Transp. Co.

13   (1981) 669 F.2d 1242, 1245-1246. Readily obtainable information includes infor-

14   mation from persons and documents within the respondent’s relative control. See Bou-

15   chard v. United States (2007) 241 F.R.D. 72, 76. Defendant has now had several weeks

16   to consult with its “facilities director” to determine whether the barrier existed, and

17   should now provide a supplemental response based on any further information obtained

18   pursuant to its continuing duty to supplement.

19   Defendant’s Argument in Response:

20   Defendant intends to provide a supplemental response no later than June 24, 2016.

21
22   REQUEST FOR ADMISSION NO. 10:

23   Admit that there is currently a built up curb ramp that extends into the access aisle of the

24   designated accessible parking spaces adjacent to and bordering the pedestrian walkways

25   serving the HIGH SCHOOL.

26   RESPONSE TO REQUEST FOR ADMISSION NO. 10:

27
                                                  -6-
28
     Motion to Compel Discovery                            Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 9 of 26 Page ID #:102



 1   Objection. This request is vague, ambiguous, over-broad and unintelligible as phrased
 2   as to the term "built up curb ramp.” Subject to and without waving said objection, de-
 3   fendant is currently unable to admit or deny this admission as it is in the process of
 4   checking with its facilities director to determine whether the item requested is currently
 5   in existence.

 6   Plaintiff’s Argument:

 7         Please see Request for Admission No.9.

 8   Defendant’s Argument in Response:

 9   Defendant intends to provide a supplemental response no later than June 24, 2016.

10   REQUEST FOR ADMISSION NO. 11:

11   Admit that on August 11, 2015, the public service counter in the administrative office of

12   the High School was greater than 36 inches above finished floor.

13   RESPONSE TO REQUEST FOR ADMISSION NO. 11:

14   Objection. This request is vague, ambiguous, over-broad and unintelligible as phrased

15
     as to the term "public service counter.” Subject to and without waving said objection, de-
     fendant is currently unable to admit or deny this admission as it is in the process of
16
     checking with its facilities director to determine whether the item requested was in ex-
17
     istence on the date in question.
18
     Plaintiff’s Argument:
19
           Please see Request for Admission No.9.
20
     Defendant’s Argument in Response:
21
     Defendant intends to provide a supplemental response no later than June 24, 2016.
22
23
     REQUEST FOR ADMISSION NO. 12:
24
     Admit that on August 11, 2015, there was no lowered public service counter in the ad-
25
     ministrative office of the HIGH SCHOOL designated for use by wheelchair users
26
     RESPONSE TO REQUEST FOR ADMISSION NO. 12:
27
                                                -7-
28
     Motion to Compel Discovery                           Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 10 of 26 Page ID #:103



 1   Objection. This request is vague, ambiguous, over-broad and unintelligible as phrased
 2   as to the term "public service counter.” It also calls for assumptions and conclusions of
 3   law that there should be a designated counter for wheelchair users. Subject to and with-
 4   out waving said objection, defendant is currently unable to admit or deny this admission
 5   as it is in the process of checking with its facilities director to determine whether the

 6   item requested was in existence on the date in question.

 7
     Plaintiff’s Argument:

 8
           Please see Request for Admission No. 9.

 9
     Defendant’s Argument in Response:

10
     Defendant intends to provide a supplemental response no later than June 24, 2016.

11
     REQUEST FOR ADMISSION NO. 13:

12
     Admit that there is currently no public service counter with a height of less than 37 inch-

13
     es above finished floor in the administrative office of the HIGH SCHOOL.

14
     RESPONSE TO REQUEST FOR ADMISSION NO. 13:

15
     Objection. This request is vague, ambiguous, over-broad and unintelligible as phrased
     as to the term "public service counter.” Subject to and without waving said objection, de-
16
     fendant is currently unable to admit or deny this admission as it is in the process of
17
     checking with its facilities director to determine whether the item requested is currently
18
     in existence.
19
     Plaintiff’s Argument:
20
           Please see Request for Admission No.9.
21
     Defendant’s Argument in Response:
22
     Defendant intends to provide a supplemental response no later than June 24, 2016.
23
24
     REQUEST FOR ADMISSION NO. 15:
25
26
27
                                                 -8-
28
     Motion to Compel Discovery                           Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 11 of 26 Page ID #:104



 1   Admit that prior to the filing of PLAINTIFF’S COMPLAINT YOU did not evaluate the
 2   HIGH SCHOOL’s facilities to identify access barriers for people with disabilities who
 3   use wheelchairs.
 4   RESPONSE TO REQUEST FOR ADMISSION NO. 15:
 5   Objection. The request is vague, ambiguous, over-broad and unintelligible as phrased as
 6   to the term “access barriers.” Additionally the request calls for a legal conclusion and
 7   assumes facts.
 8   Plaintiff’s Argument:
 9            Please see Request for Admission No.1
10            As to Defendant’s overbroad objection, please note that while courts have the
11   power to limit discovery that is “unduly burdensome or expensive,” information may
12   not be refused merely because a response may involve “inconvenience and expense.”
13   See Isaac v. Shell Oil Co. (1979) 83 F.R.D. 428, 431. In determining whether the burden
14   or expense of the discovery outweighs its likely benefit, the court will consider the needs
15   of the case, the amount in controversy, the importance of the issues at stake, and the im-
16   portance of the discovery in resolving the issues. Fed. R. Civ. P. section 26(b)(2)(C)(iii).
17   Given the circumstances in this matter, it is clear that the discovery is not so burden-
18   some or expensive as to outweigh its benefits since public entities have an obligation
19   under Title II to provide program access to its programs, services and activities, as noted
20   above. Therefore, whether Defendant evaluated the High School to determine barriers
21   is clearly relevant and significant to this case.
22            As to Defendant’s legal conclusion objection, please note that under FRCP
23   36(1)(A), an “application of law to fact, or opinions about either” are explicitly within
24   the scope of discovery. See also Marchand v. Mercy Med. Ctr. (1994) 22 F.3d 933, 937,
25   fn. 4.
26   Defendant’s Argument in Response:
27
                                                   -9-
28
     Motion to Compel Discovery                            Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 12 of 26 Page ID #:105



 1   Defendant maintains its objections to this request because it assumes that defendant
 2   had a legal obligation to check for access barriers after the initial construction of the
 3   school. It is also vague and ambiguous as to what access barriers plaintiff is seeking. It is
 4   tantamount to a fishing expedition, and therefore not reasonably calculated to lead to
 5   admissible evidence.
 6
 7   REQUEST FOR ADMISSION NO. 17:
 8   Admit that it would not be an undue administrative burden to remove the parking barri-
 9   ers identified in PLAINTIFF’S COMPLAINT.
10   RESPONSE TO REQUEST FOR ADMISSION NO. 17:
11   Objection. This request is vague, ambiguous, over-broad and unintelligible as phrased
12   as to the terms "parking barriers” and “undue administrative burden.” The request po-
13   tentially violates the attorney-client privilege and or attorney work product privilege.
14   The request is unduly burdensome and thereafter is oppressive and harassing. Subject to
15   and without waving said objection, defendant is unable to admit or deny because it does

16   not understand what is meant by “administrative burden.”

17
     Plaintiff’s Argument:

18
           Please see Request for Admission No.9. Here, it is unclear why Defendant is unable

19
     to understand the term “administrative burden” since “Undue Administrative or Financial

20
     Burden” is raised as a Sixth Affirmative Defense in its Answer.

21
     Defendant’s Argument in Response:

22
     Defendant intends to provide a supplemental response no later than June 24, 2016.

23
24
     REQUEST FOR ADMISSION NO. 20:

25
     Admit that it would not be an undue administrative burden to install a lowered counter

26
     in the administrative office of the HIGH SCHOOL.

27
                                                 -10-
28
     Motion to Compel Discovery                            Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 13 of 26 Page ID #:106



 1   RESPONSE TO REQUEST FOR ADMISSION NO. 20:
 2   Objection. This request is vague, ambiguous, over-broad and unintelligible as phrased
 3   as to the terms "lowered counter” and “undue administrative burden.” The request call
 4   for an expert opinion and legal conclusion. The request potentially violates the attorney-
 5   client privilege and or attorney work product privilege. The request is unduly burden-
 6   some and thereafter is oppressive and harassing. Subject to and without waving said ob-

 7   jection, defendant is unable to admit or deny because it does not understand what is

 8
     meant by “administrative burden.”
     Plaintiff’s Argument:
 9
           Please see Request for Admission No.17.
10
     Defendant’s Argument in Response:
11
     Defendant intends to provide a supplemental response no later than June 24, 2016.
12
13
14
     B. Requests for Production of Documents
15
     REQUEST FOR PRODUCTION NO. 10:
16
     All DOCUMENTS in YOUR POSSESSION which refer or relate to steps YOU have taken
17
     to identify and remove barriers to accessibility of the HIGH SCHOOL’s parking facilities
18
     for people with disabilities who use wheelchairs since January 26, 1992
19
     RESPONSE TO REQUEST FOR PRODUCTION NO. 10:
20
     Objection. This request calls for speculation and assumes unfounded facts. The request
21
     also calls for an expert opinion and/or legal conclusion regarding defendant’s duties to
22
     identify and/or remove alleged barriers. The request is also vague, ambiguous and unin-
23
     telligible as to the terms “barriers to accessibility” and “parking facilities”. The request
24
     is over-broad and unduly burdensome making it harassing and oppressive. The request
25
     as phrased also potentially violates the attorney-client privilege and/or attorney work
26
     product privilege.
27
                                                -11-
28
     Motion to Compel Discovery                            Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 14 of 26 Page ID #:107



 1   Plaintiff’s Argument:
 2         Please see Request for Admission No.1 and No. 15.
 3         A question which calls for speculation is one where the “answer called for is not
 4   one of fact, but a mere guess.” However, the question posed here does not call for a
 5   mere guess and is fully answerable based on facts. Thus, Defendant’s objection based on
 6   speculation is without merit.
 7         Defendant’s objection that the response to these requests is protected by privilege
 8   is without merit. However, if Defendant wishes to maintain this objection, please note
 9   that under Federal Rules of Civil Procedure section 26(b)(5), the party claiming privilege
10   is required to describe the nature of the privileged information in a manner sufficient
11   enough to allow the other parties to assess the claim. A failure to provide sufficient in-
12   formation may constitute a waiver of privilege. See Ramirez v. Cty. Of Los Angeles (2005)
13   231 F.R.D. 407, 410).
14   Defendant’s Argument in Response:
15   Defendant intends to provide supplemental responses no later than June 24, 2016.
16   REQUEST FOR PRODUCTION NO. 11:
17   All DOCUMENTS in YOUR POSSESSION which refer or relate to steps YOU have taken
18   to identify and remove barriers to accessibility of the HIGH SCHOOL’s administrative
19   office for people with disabilities who use wheelchairs since January 26, 1992.
20   RESPONSE TO REQUEST FOR PRODUCTION NO. 11:
21   Objection. This request calls for speculation and assumes unfounded facts. The request
22   also calls for an expert opinion and/or legal conclusion regarding defendant’s duties to
23   identify and/or remove alleged barriers. The request is also vague, ambiguous and unin-
24   telligible as to the terms “barriers to accessibility” and “parking facilities”. The request
25   is over-broad and unduly burdensome making it harassing and oppressive. The request

26   as phrased also potentially violates the attorney-client privilege and/or attorney work

27
     product privilege.
                                                -12-
28
     Motion to Compel Discovery                            Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 15 of 26 Page ID #:108



 1   Plaintiff’s Argument:
 2         Please see Request for Production of Document No. 10.
 3   Defendant’s Argument in Response:
 4   Defendant intends to provide supplemental responses no later than June 24, 2016.
 5   REQUEST FOR PRODUCTION NO. 12:
 6   All DOCUMENTS in YOUR POSSESION which refer or relate to complaints filed with
 7   and/or against YOU regarding accessibility barriers at the HIGH SCHOOL, including
 8   but not limited to, informal complaints and grievances, complaints with enforcement
 9   agencies and court actions.
10   RESPONSE TO REQUEST FOR PRODUCTION NO. 12:
11   Objection. This request is overbroad as currently phrased as to time and scope and is
12   therefore irrelevant and not reasonably calculated to lead to the discovery of admissible
13   evidence. The request is also unduly burdensome and therefore harassing and oppres-
14   sive. The request also further potentially violates the privacy rights of third parties and
15   attorney-client privilege and/or attorney work product privilege.

16   Plaintiff’s Argument:

17         Please see Request for Production of Document No. 10.

18         As to the privacy objection, please note that the right of privacy is not absolute bar

19   to discovery. Courts will balance the need for the information against the right of privacy

20   by weighing the severity of each potential invasion. See Ragge v. MCA/Universal Studios

21   (1995) 165 FRD 601, 604.

22   Defendant’s Argument in Response:

23   Defendant intends to provide supplemental responses no later than June 24, 2016.

24
25   REQUEST FOR PRODUCTION NO. 13:

26
27
                                                -13-
28
     Motion to Compel Discovery                            Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 16 of 26 Page ID #:109



 1   All DOCUMENTS in YOUR POSSESSION which refer or relate to any investigation, cal-
 2   culation or analysis conducted by YOU regarding the feasibility of removing the barriers
 3   identified in PLAINTIFF’S COMPLAINT.
 4   RESPONSE TO REQUEST FOR PRODUCTION NO. 13:
 5   Objection. The request is overbroad as currently phrased as to time and scope and is
 6   therefore irrelevant and not reasonably calculated to lead to the discovery of admissible
 7   evidence. The request is also unduly burdensome and is therefore harassing and oppres-
 8   sive. The request also further potentially violates the privacy of third parties and the at-
 9   torney-client privilege and/or attorney work product privilege. The request also calls for

10   an expert opinion and/or testimony.

11
     Plaintiff’s Argument:

12
           Please see Request for Production of Document No. 12.

13
     Defendant’s Argument in Response:

14
     Defendant intends to provide supplemental responses no later than June 24, 2016.

15
     REQUEST FOR PRODUCTION NO. 14:

16
     If it is YOUR contention that it would create an undue financial burden for YOU to re-

17
     move the barriers identified in PLAINTIFF’S COMPLAINT, produce all DOCUMENTS

18
     in YOUR POSSESSION supporting YOUR contention.

19
     RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

20
     Objection. The request is overbroad, vague, ambiguous, and unintelligible as to the term
     “undue financial burden.” The request also calls for an expert opinion and/or testimo-
21
     ny. The request also calls for speculation. The request is also unduly burdensome and is
22
     therefore harassing and oppressive. The request also potentially violates the attorney-
23
     client privilege and/or attorney work product privilege.
24
     Plaintiff’s Argument:
25
26
27
                                                -14-
28
     Motion to Compel Discovery                            Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 17 of 26 Page ID #:110



 1         Please see Request for Production of Document No. 10 and Request for Admis-
 2   sion No. 17. Defendant has raised undue burden as an affirmative defense and should
 3   therefore produce all documents related to that defense.
 4   Defendant’s Argument in Response:
 5   Defendant intends to provide supplemental responses no later than June 24, 2016.
 6   REQUEST FOR PRODUCTION NO. 15:
 7   If it is YOUR contention that it would create an undue administrative burden for YOU to
 8   remove the barriers identified in PLAINTIFF’S COMPLAINT, produce all DOCU-
 9   MENTS in YOUR POSSESSION supporting YOUR contention.
10   RESPONSE TO REQUEST FOR PRODUCTION NO. 15:
11   Objection. The request is overbroad, vague, ambiguous, and unintelligible as to the term
12   “undue administrative burden.” The request also calls for an expert opinion and/or tes-
13   timony. The request calls for speculation. The request is unduly burdensome and there-
14   fore harassing and oppressive. The request also potentially violates the attorney-client
15   privilege and/or attorney work product privilege.

16   Plaintiff’s Argument:

17         Please see Request for Production of Document No. 10 and Request for Admis-

18   sion No. 17. Defendant has raised undue burden as an affirmative defense and should

19   therefore produce all documents related to that defense.

20   Defendant’s Argument in Response:

21   Defendant intends to provide supplemental responses no later than June 24, 2016.

22
23   REQUEST FOR PRODUCTION NO. 16:

24   If it is YOUR contention that removal of the barriers identified in PLAINTIFF’S COM-

25   PLAINT would fundamentally alter the nature of YOUR programs, services and activi-

26   ties, produce all DOCUMENTS in YOUR POSSESSION supporting YOUR contention.

27
                                               -15-
28
     Motion to Compel Discovery                          Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 18 of 26 Page ID #:111



 1   RESPONSE TO REQUEST FOR PRODUCTION NO. 16:
 2   Objection. The request is vague, ambiguous, and unintelligible as to the term “funda-
 3   mentally alter.” The request also calls for an expert opinion and/or testimony. The re-
 4   quest also calls for speculation. The request is unduly burdensome and therefore harass-
 5   ing and oppressive. The request also potentially violates the attorney-client privilege
 6   and/or attorney work product privilege. Furthermore the request is compound as

 7   phrased and overbroad as to time and scope.

 8
     Plaintiff’s Argument:

 9
           Please see Request for Production of Document No. 10.

10
     Defendant’s Argument in Response:

11
     Defendant intends to provide supplemental responses no later than June 24, 2016.

12
     REQUEST FOR PRODUCTION NO. 17:

13
     All DOCUMENTS in YOUR POSSESSION supporting YOUR contention, as stated in

14
     YOUR Fifth Affirmative Defense at p. 7 of YOUR Answer to the COMPLAINT that “any

15
     relief sought through Plaintiff’s Complaint including but not limited to relief sought for

16
     modifications, barrier removal and/or alterations to Defendant’s property would be

17
     technically infeasible.”

18
     RESPONSE TO REQUEST FOR PRODUCTION NO. 17:

19
     Objection. The request also calls for an expert opinion and/or testimony. The request
     also calls for speculation. The request is unduly burdensome and therefore harassing
20
     and oppressive. The request also potentially violates the attorney-client privilege and/or
21
     attorney work product privilege. Furthermore, the request is compound as phrased and
22
     overbroad as to time and scope.
23
     Plaintiff’s Argument:
24
           Please see Request for Production of Document No. 10.
25
           Moreover, these requests seek information regarding an affirmative defense iden-
26
     tified in the Answer. These are Defendant’s affirmative defenses, which surely must
27
                                               -16-
28
     Motion to Compel Discovery                           Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 19 of 26 Page ID #:112



 1   have been based on some facts when they were asserted. Either those facts are support-
 2   ed by documentation or they are not. The plaintiff has every right to seek information
 3   that supports these defenses. As such, these requests are completely objection-proof. If
 4   Defendant’s wish to disavow these affirmative defenses, these requests will be mooted.
 5   However, if Defendant’s wish to maintain these affirmative defenses, they must fully
 6   respond to these requests. If there are simply currently no documents in the Defendant’s
 7   possession, custody and control that are responsive to this request, Defendant should
 8   clearly state so.
 9   Defendant’s Argument in Response:
10   Defendant intends to provide supplemental responses no later than June 24, 2016.
11
12   REQUEST FOR PRODUCTION NO. 18:
13   All DOCUMENTS in YOUR POSSESSION supporting YOUR contention, as stated in
14   YOUR Tenth Affirmative Defense at p. 9 of YOUR Answer to the COMPLAINT that
15   “any relief sought through Plaintiff’s Complaint cannot be awarded as Defendant has
16   provided alternative reasonable modifications.”
17   RESPONSE TO REQUEST FOR PRODUCTION NO. 18:
18   Objection. The request also calls for an expert opinion and/or testimony. The request
19   calls for speculation. The request is also unduly burdensome and is therefore harassing
20   and oppressive. The request also further potentially violates the attorney-client privilege
21   and/or attorney work product privilege. Furthermore, the request is compound as
22   phrased and overbroad as to time and scope.

23   Plaintiff’s Argument:

24          Please see Request for Production of Document No. 17.

25   Defendant’s Argument in Response:

26   Defendant intends to provide supplemental responses no later than June 24, 2016.

27
                                                -17-
28
     Motion to Compel Discovery                           Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 20 of 26 Page ID #:113



 1
 2
 3   C. Interrogatories
 4   INTERROGATORY N0. 7:
 5   IDENTIFY all grievances and/or complaints filed with and/or against YOU related to
 6   the physical accessibility of the HIGH SCHOOL for people with disabilities who use
 7   wheelchairs, since January 1990.
 8   RESPONSE TO INTERROGA TORY NO. 7:
 9   Objection. The request is overbroad as to time and scope and is therefore irrelevant and
10   not reasonably calculated to lead to admissible evidence. The request is also vague, am-
11   biguous, and unintelligible as phrased with respect to the term “physical accessibility.”
12   The request potentially invades the rights of third parties and/or the attorney client priv-
13   ilege. The request is unduly burdensome and phrased and therefore harassing and op-

14   pressive.

15
     Plaintiff’s Argument:

16
           Please see Request for Production of Document No. 12.

17
     Defendant’s Argument in Response:

18
     Defendant intends to provide supplemental responses no later than June 24, 2016.

19
20
     INTERROGATORY NO. 8:

21
     DESCRIBE all steps YOU have taken since January 26, 1992 to identify accessibility

22
     barriers at the HIGH SCHOOL for people with disabilities who use wheelchairs.

23
     RESPONSE TO INTERROGATORY NO. 8:

24
     Objection. The request is overbroad as to time and scope and is therefore irrelevant and
     not reasonably calculated to lead to admissible evidence. The request is also vague, am-
25
     biguous, and unintelligible as phrased with respect to the term “accessibility barriers.”
26
     The request assumes unfounded facts and calls for a legal conclusion regarding the du-
27
                                                -18-
28
     Motion to Compel Discovery                            Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 21 of 26 Page ID #:114



 1   ties of defendant. The request calls for expert testimony and/or opinion. The request is
 2   unduly burdensome and phrased and therefore harassing and oppressive.
 3   Plaintiff’s Argument:
 4         Please see Request for Production of Document No. 10 and Request for Admis-
 5   sion No.
 6   Defendant’s Argument in Response:

 7   Defendant intends to provide supplemental responses no later than June 24, 2016.

 8
 9   INTERROGATORY NO. 9:

10   DESCRIBE all steps YOU have taken since January 26, 1992 to remove accessibility

11   barriers at the HIGH SCHOOL for people with disabilities who use wheelchairs.

12   RESPONSE TO INTERROGATORY NO. 9:

13   Objection. The request is overbroad as to time and scope and is therefore irrelevant and

14
     not reasonably calculated to lead to admissible evidence. The request is also vague, am-
     biguous, and unintelligible as phrased with respect to the term “accessibility barriers.”
15
     The request assumes unfounded facts and calls for a legal conclusion regarding the du-
16
     ties of defendant. The request calls for expert testimony and/or opinion. The request is
17
     unduly burdensome and as phrased and therefore harassing and oppressive.
18
     Plaintiff’s Argument:
19
           Please see Request for Production of Document No. 10 and Request for Admis-
20
     sion No. 15.
21
     Defendant’s Argument in Response:
22
     Defendant intends to provide supplemental responses no later than June 24, 2016.
23
     INTERROGATORY NO. 10:
24
     If it is YOUR contention that it would create an undue financial burden for YOU to re-
25
     move the barriers identified in PLAINTIFF’S COMPLAINT, please IDENTIFY all facts
26
     that support YOUR contention, and all PERSON(S) with knowledge of such facts.
27
                                               -19-
28
     Motion to Compel Discovery                          Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 22 of 26 Page ID #:115



 1   RESPONSE TO INTERROGATORY NO. 10:
 2   Objection. The request is overbroad as to time and scope and is therefore irrelevant and
 3   not reasonably calculated to lead to admissible evidence. The request is also vague, am-
 4   biguous, and unintelligible as phrased with respect to the term “undue financial bur-
 5   den.” The request assumes unfounded facts and calls for a legal conclusion regarding
 6   the duties of defendant. The request calls for expert testimony and/or opinion. The re-

 7   quest is unduly burdensome as phrased and therefore harassing and oppressive. The re-

 8
     quest potentially violates the attorney client privilege and/or work product privilege.
     Plaintiff’s Argument:
 9
           Please see Request for Production of Document No. 15.
10
           Defendant’s objections are without merit. Contention interrogatories are specifi-
11
     cally permitted under the federal rules. Fed. R. Civ. P. 33(a)(2). Plaintiff is entitled to
12
     know all facts that support any of Defendant’s defenses and contentions. Here, Defend-
13
     ant has raised and undue burden defense as a Sixth Affirmative Defense.
14
     Defendant’s Argument in Response:
15
     Defendant intends to provide supplemental responses no later than June 24, 2016.
16
17
     INTERROGATORY NO. 11:
18
     If it is YOUR contention that it would create an undue administrative burden for YOU to
19
     remove the barriers identified in PLAINTIFF’S COMPLAINT, please IDENTIFY all
20
     facts that support YOUR contention, and all PERSON(S) with knowledge of such facts.
21
     RESPONSE TO INTERROGATORY NO. 11:
22
     Objection. The request is overbroad as to time and scope and is therefore irrelevant and
23
     not reasonably calculated to lead to admissible evidence. The request is also vague, am-
24
     biguous, and unintelligible as phrased with respect to the term “undue administrative
25
     burden.” The request assumes unfounded facts and calls for a legal conclusion regard-
26
     ing the duties of defendant. The request calls for expert testimony and/or opinion. The
27
                                                -20-
28
     Motion to Compel Discovery                           Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 23 of 26 Page ID #:116



 1   request potentially violates the attorney client privilege and/or attorney work product
 2   privilege.
 3   Plaintiff’s Argument:
 4         Please see Interrogatory No.10.
 5   Defendant’s Argument in Response:
 6   Defendant intends to provide supplemental responses no later than June 24, 2016.
 7   INTERROGATORY NO. 12:
 8   If it is YOUR contention that removal of the barriers identified in PLAINTIFF’S COM-
 9   PLAINT would fundamentally alter the nature of YOUR programs, services and activi-
10   ties, please IDENTIFY all facts that support YOUR contention, and all PERSON(S) with
11   knowledge of such facts.
12   RESPONSE TO INTERROGATORY NO. 12:
13   Objection. The request is overbroad as to time and scope and is therefore irrelevant and
14   not reasonably calculated to lead to admissible evidence. The request is also vague, am-
15   biguous, and unintelligible as phrased with respect to the term “fundamentally alter.”

16   The request assumes unfounded facts and calls for a legal conclusion regarding the du-

17
     ties of defendant. The request calls for expert testimony and/or opinion. The request is
     unduly burdensome as phrased and therefore harassing and oppressive. The request po-
18
     tentially violates the attorney client privilege and/or attorney work product privilege.
19
     The request is also compound in violation of the Federal Rules.
20
     Plaintiff’s Argument:
21
           Please see Request for Production of Document No. 10 and Interrogatory No. 10.
22
     Defendant’s Argument in Response:
23
     Defendant intends to provide supplemental responses no later than June 24, 2016.
24
25
     INTERROGATORY NO. 13:
26
     If it is YOUR contention, as stated in YOUR Fifth Affirmative Defense at p. 7 of YOUR
27
                                               -21-
28
     Motion to Compel Discovery                          Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 24 of 26 Page ID #:117



 1   Answer to the COMPLAINT that “any relief sought through Plaintiff’s Complaint in-
 2   cluding but not limited to relief sought for modifications, barrier removal and/or altera-
 3   tions to Defendant’s property would be technically infeasible”, please IDENTIFY all
 4   facts that support YOUR contention, and all PERSON(S) with knowledge of such facts.
 5   RESPONSE TO INTERROGATORY NO. 13:
 6   Objection. The request is overbroad as to time and scope and is therefore irrelevant and
 7   not reasonably calculated to lead to admissible evidence. The request assumes un-
 8   founded facts and calls for a legal conclusion regarding the duties of defendant. The re-
 9   quest calls for expert testimony and/or opinion. The request is unduly burdensome as
10   phrased and therefore harassing and oppressive. The request potentially violates the at-

11   torney client privilege and/or attorney work product privilege.

12
     Plaintiff’s Argument:

13
           Please see Request for Production of Document No. 10 and 17.

14
           All of these objections are without merit. This interrogatory seeks information re-

15
     garding an affirmative defense identified in the Answer. This is Defendant’s affirmative

16
     defenses, which surely must have been based on some facts when they were asserted.

17
     The plaintiff has every right to seek information that supports these defenses. As such,

18
     these requests are completely objection-proof. If Defendant’s wish to disavow these af-

19
     firmative defenses, these interrogatory will be mooted. However, if Defendant’s wish to

20
     maintain these affirmative defenses, they must fully respond to this interrogatory.

21
     Defendant’s Argument in Response:

22
     Defendant intends to provide supplemental responses no later than June 24, 2016.

23
24
     INTERROGATORY NO. 14:

25
     If it is YOUR contention, as stated in YOUR Tenth Affirmative Defense at p. 9 of YOUR

26
     Answer to the COMPLAINT that “any relief sought through Plaintiff’s Complaint can-

27
     not be awarded as Defendant has provided alternative reasonable modifications”,
                                               -22-
28
     Motion to Compel Discovery                           Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 25 of 26 Page ID #:118



 1   please IDENTIFY all facts that support YOUR contention, and all PERSON(S) with
 2   knowledge of such facts.
 3   RESPONSE TO INTERROGATORY NO. 14:
 4   Objection. The request is overbroad as to time and scope and is therefore irrelevant and
 5   not reasonably calculated to lead to admissible evidence. The request assumes un-
 6   founded facts and calls for a legal conclusion regarding the duties of defendant. The re-
 7   quest calls for expert testimony and/or opinion. The request is unduly burdensome as
 8   phrased and therefore harassing and oppressive. The request potentially violates the at-

 9   torney client privilege and/or attorney work product privilege.

10
     Plaintiff’s Argument:

11
           Please see Interrogatory No.13 and Request for Production No. 17.

12
     Defendant’s Argument in Response:

13
     Defendant intends to provide supplemental responses no later than June 24, 2016.

14
                         III. MOTION TO COMPEL VERIFICATIONS

15
           Additionally, Defendants have not provided verifications for it responses to inter-

16
     rogatories. Federal rules require that the person responding to the interrogatories sign

17
     the responses under oath. Fed. R. Civ. P. 33(b)(3).

18
           Here, Defendant served responses to interrogatories containing substantive re-

19
     sponses. Thus, Defendant is required to sign the responses and provide verifications.

20
     Defendant did not serve verification with their original responses. To date, Plaintiff has

21
     still not received verifications for any of Defendant’s responses. (Masanque Dec., ¶ 7.)

22
     Defendant’s response is ineffective and incomplete without the required verification.

23
24
                                        IV. CONCLUSION

25
           For the foregoing reasons, Plaintiff respectfully requests that this Court order De-

26
     fendant Rialto Unified School District to provide supplemental responses to: (1) request

27
                                                -23-
28
     Motion to Compel Discovery                            Case #: 5:15-CV-02124-VAP-KK
Case 5:15-cv-02124-VAP-KK Document 24 Filed 06/09/16 Page 26 of 26 Page ID #:119



 1   for admissions 3, 4, 7, 8, 9 through 13, 15, 17 and 20; (2) request for production of doc-
 2   uments 10 through 18; (3) Interrogatories 7 through 14; and (4) Verification.
 3         This motion will be largely or entirely obviated once defendant serves its supple-
 4   mental responses to discovery, and plaintiff will withdraw its motion once those sup-
 5   plemental responses are served and deemed satisfactory. As of the date of this motion,
 6   however, no such responses have been served.
 7
 8   Dated: June 9, 2016                          CENTER FOR DISABILITY ACCESS
 9
10                                                By: /s/ Isabel Rose Masanque
11                                                ISABEL ROSE MASANQUE
12                                                Attorneys for Plaintiff
13
14   Dated: June 9, 2016                                 WALSH & ASSOCIATES, APC
15
16
17                                                By: /s/ Matthew Wallin
18                                                MATTHEW WALLIN
19                                                Attorneys for Defendant,
20                                               RIALTO UNIFIED SCHOOL DISTRICT
21
22
23
24
25
26
27
                                               -24-
28
     Motion to Compel Discovery                           Case #: 5:15-CV-02124-VAP-KK
